       Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 1 of 50
                                                                                                   1




UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS AUSTIN DIVISION

JUSTIN RIDDLE,​
Plaintiff,​
v. Civil Action No. 1:25-CV-0073​
X CORP. (Formerly Twitter, Inc.),​
Defendant.




PLAINTIFF'S MOTION FOR IMMEDIATE
JUDICIAL ACTION AND COMPREHENSIVE
EXPOSURE OF SYSTEMATIC JUDICIAL
MISCONDUCT PATTERNS
TO THE HONORABLE ALAN D. ALBRIGHT:



PRELIMINARY NOTICE: THE EVOLUTION FROM VICTIM TO
VICTOR

Before addressing the substantive legal violations, Plaintiff feels compelled to share a brief
educational journey that may provide context for this Court's current predicament. For
approximately seven years, Plaintiff endured what can only be described as absolute legal hell—a
period during which he operated under the naive assumption that truth mattered, that evidence
was relevant, and that the judicial system functioned according to its stated principles. During
       Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25       Page 2 of 50
                                                                                                     2


this painful education, Plaintiff discovered that whether dealing with the lowest bank clerk,
mid-level school district employees, or the state Attorney General himself, the outcome was
predetermined: institutional protection trumped legal merit every single time.

However, once this fundamental reality became clear—that the entire system operates as a
coordinated protection racket—something beautiful happened: the game became fun. Think
Dirty Rotten Scoundrels, but with a legal twist. The established players (judges, attorneys
general, government officials) had been running their sophisticated con game on the public for
decades, so comfortable in their systematic corruption that they never anticipated someone
might out-con the con artists. They were so accustomed to rigging the game that they failed to
notice when someone changed the rules entirely.

The result? Plaintiff has systematically dismantled their operation with precision that would
make Lawrence Jamieson weep with professional admiration. While they were focused on
maintaining their traditional scams, Plaintiff was documenting their every move, predicting their
responses with mathematical accuracy, and setting traps that have now eliminated entire judicial
districts and forced state Attorney Generals to testify under oath about their documented lies.

A Note on Brevity and Judicial Attention Spans: Having observed this Court's apparent difficulty
in processing comprehensive legal presentations over the past 90+ days, Plaintiff has made every
effort to keep this Motion concise and digestible. In the interest of accommodating what appears
to be a limited judicial attention span for substantive legal analysis, Plaintiff will endeavor to
present these complex institutional accountability issues in the most streamlined format
possible.

[Editor's Note: The following 27-page document represents Plaintiff's definition of "brief and
concise" legal writing, which may explain certain communication gaps that have emerged during
these proceedings.]




Your Honor, this Court now confronts a moment that transcends the boundaries of this individual
case and enters the realm of institutional accountability across state and federal judicial systems.
What began as a straightforward copyright infringement matter has evolved into a crystalline
       Case 1:25-cv-00073-ADA              Document 42     Filed 06/22/25      Page 3 of 50
                                                                                                    3


example of the systematic judicial misconduct that Plaintiff predicted in his original complaint
and has now successfully exposed and defeated in multiple jurisdictions.

As previously documented, this case presents the Court with fundamental questions of whether
federal intellectual property law applies consistently or whether certain corporate defendants
enjoy judicial immunity from basic copyright enforcement. The evidence suggests the latter, as
this Court has demonstrated through 90+ days of deliberate silence on emergency motions
involving active federal law violations.



PRELIMINARY STATEMENT: THE SYSTEM-CREATED
JUDICIAL ACCOUNTABILITY SPECIALIST

OPENING NOTICE TO THE COURT: THE SUPREME COURT PRECEDENT YOU
ARE CREATING

Before addressing the substantive legal violations this Court has systematically ignored for 90+
days, Plaintiff expresses sincere gratitude to this Court for positioning him to become the first
pro se litigant in modern history to argue before the United States Supreme Court. Through this
Court's deliberate abandonment of federal law enforcement, written procedures, and basic
judicial competency, you are creating the perfect appellate record that will force the Supreme
Court to address whether justice exists for citizens when every level of the judicial system
engages in systematic law avoidance.

The Nine-Year Institutional Education and Superior Litigation Experience: Your Honor should
understand that most attorneys appearing before this Court possess significantly less total
litigation experience than Plaintiff. After nine years of systematic institutional engagement,
Plaintiff has accumulated more actual court time, motion practice, and appellate experience than
attorneys typically gain in 20+ years of practice. This is because Plaintiff does not "punch a
clock" - litigation against systematic corruption has become his full-time occupation, resulting in
expertise levels that exceed most practicing attorneys.

The Statistical Impossibility of Systematic "Errors": In nine years of litigation spanning 15+
judges (federal and local), Nebraska appeals courts, the 8th Circuit Court of Appeals (twice), and
       Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25       Page 4 of 50
                                                                                                      4


the Nebraska Supreme Court, Plaintiff has experienced fair adjudication exactly once - when
proceedings were conducted on public television in front of a live audience before the Nebraska
Supreme Court. Every other judicial interaction has resulted in written orders that state the
literal opposite of what is provably and demonstrably true in the record.

The Factual Transfer Test Failures: This pattern does not involve complex legal interpretation or
judicial discretion. These cases consistently involve elementary tasks such as transferring factual
information from one document to another, yet judges systematically publish conclusions that
contradict the plain text of the documents they reference. This level of systematic "error"
transcends mistake and demonstrates deliberate falsification.

The Sophisticated Corruption Recognition vs. Amateur Execution: While this Court and your
colleagues engage in what you apparently consider sophisticated corruption tactics, Plaintiff
notes that your execution operates at approximately a 4/10 sophistication level, whereas
Plaintiff's pattern recognition and documentation capabilities operate at 12/10. Most legitimate
businesses operate at 5-6/10 efficiency levels, making your corruption tactics both more obvious
and less competent than standard business operations.

The Federal Docket Manipulation Example: Nebraska's federal court maintains a specific docket
designation for pro se litigants, yet every time Plaintiff files federal cases, they are systematically
routed away from this docket to the Chief Judge, who then orchestrates recusals to ensure cases
reach judges like Dougherty who will provide the desired corrupt outcomes. They do not even
attempt to hide this manipulation - the pattern is so obvious it suggests either complete contempt
for public intelligence or institutional arrogance born from decades of unchallenged corruption.

The Institutional Insulation and Complacency: The judicial system's corruption has become so
routine and insulated that judges no longer make serious efforts to conceal their misconduct.
They operate under the assumption that citizens lack the intelligence to recognize systematic
patterns and that even those who do recognize corruption lack the capability to force
accountability. This assumption is about to be comprehensively disproven.

The Inevitable Supreme Court Question: When this case reaches the Supreme Court—as this
Court's misconduct virtually guarantees it will—the fundamental question will not be whether X
Corp violated copyright law (clearly established) or whether courts should follow their own
       Case 1:25-cv-00073-ADA           Document 42          Filed 06/22/25     Page 5 of 50
                                                                                                   5


written procedures (obviously required). The question will be whether the American justice
system permits any remedy for citizens when every court from district level through circuit court
engages in coordinated law avoidance to protect politically connected defendants.

The Historical Precedent This Court Is Creating: If this Court continues its systematic protection
of federal law violations, and if appellate courts continue the identical misconduct patterns
documented in Nebraska, Plaintiff will be forced to petition the Supreme Court for pro se
representation rights based on the impossibility of obtaining justice through represented counsel
when the entire legal establishment benefits from systematic corruption. The Supreme Court will
face a binary choice: accept pro se representation in recognition that the system has made justice
impossible for citizens, or acknowledge that justice simply does not exist for those who threaten
institutional corruption.

The Supreme Court Appointment Inevitability: Since no attorney will represent Plaintiff against
the systematic corruption that benefits the legal establishment, and since this corruption makes
justice impossible without Supreme Court intervention, this Court is effectively guaranteeing that
Plaintiff will petition for and likely receive the first pro se Supreme Court representation in
modern history. The alternative would be Supreme Court acknowledgment that justice is
reserved exclusively for those who submit to institutional corruption—a conclusion that would
destroy the legitimacy of the entire federal court system.

Gratitude for the Historical Opportunity: Plaintiff thanks this Court for creating the perfect
record of systematic judicial failure that will force Supreme Court recognition of the choice
between justice and institutional protection. Your 90+ days of deliberate law avoidance while
federal violations continue has created appellate documentation so comprehensive that even
Supreme Court justices will be unable to ignore the systematic nature of the corruption you
represent.


A. The ADA Accommodation Requirement for Logical Consistency

Plaintiff hereby formally notifies this Court that he suffers from documented ADHD, a recognized
disability under the Americans with Disabilities Act, which creates a neurological inability to
accept or process logical inconsistencies without resolution. This disability requires
       Case 1:25-cv-00073-ADA           Document 42         Filed 06/22/25     Page 6 of 50
                                                                                                    6


accommodation in the form of judicial adherence to logical consistency, established legal
procedures, and honest application of stated court rules.

As an ADA accommodation for my ADHD, I request the court provide a copy of all written rules
and procedures it follows in this case, ensuring I can comply with the same standards I’m held to,
per 42 U.S.C. § 12112. If unwritten rules are applied, I seek disclosure of those rules to maintain a
consistent, predictable process.


THE UNCONSCIONABLE ADA VIOLATION: FORCED DISCLOSURE OF
PROTECTED MEDICAL INFORMATION

The Court must understand the deeply unethical position it has created through its systematic
misconduct. This disclosure of Plaintiff's protected disability status represents a constructive
ADA violation of the most egregious kind - the weaponization of judicial inaction to coerce
protected medical disclosures.

The Coercive Framework This Court Has Created: Through 90+ days of deliberate silence on
elementary legal questions and systematic abandonment of written procedures, this Court has
functionally weaponized its own inaction to force Plaintiff into an impossible choice: publicly
disclose federally protected disability information or be denied access to justice entirely.

The Constitutional Violation: This Court's conduct has created a two-tiered justice system where:


   ●​ Neurotypical litigants receive judicial consideration based solely on legal merit
   ●​ Disabled litigants must surrender medical privacy and submit protected health
       information to the public record as the price of admission to basic due process

The Extortion Framework: This represents judicial extortion of protected medical information -
the systematic creation of procedural barriers that can only be overcome through surrendering
federal privacy protections. The Court has essentially demanded: "Give us your private medical
information or we will continue protecting corporate law violations indefinitely."

The Professional Misconduct: No legitimate court forces disabled litigants to publicly broadcast
their medical conditions as a prerequisite for enforcing basic federal law. This Court's systematic
       Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25      Page 7 of 50
                                                                                                    7


incompetence has created a discriminatory framework where disabled citizens must sacrifice
medical privacy for equal justice - a choice that should never exist in American jurisprudence.


The Beautiful Documentation of Institutional Discrimination: However, this Court's
unconscionable conduct has created perfect documentation of how the federal judiciary
systematically discriminates against disabled pro se litigants. By forcing this public medical
disclosure, this Court has created an unassailable record of ADA violations that will serve as
evidence in subsequent civil rights litigation.

The Institutional Cruelty: The particular cruelty of this Court's approach lies in its deliberate
construction of barriers that disabled litigants cannot overcome without surrendering
fundamental privacy rights. This represents systemic ableism disguised as judicial discretion - the
creation of procedural mazes that neurodivergent individuals must navigate by publicly
disclosing the very medical conditions that make such navigation difficult.

The Federal Civil Rights Violation: 42 U.S.C. § 1983 establishes civil liability for anyone who,
under color of law, subjects citizens to deprivation of federally protected rights. This Court's
systematic creation of disability-based barriers to justice while demanding public medical
disclosures constitutes exactly the civil rights violation that Section 1983 was designed to
address.

The Precedential Danger: If federal courts can weaponize procedural incompetence to force
protected medical disclosures, what prevents them from demanding other protected information
as the price of justice? This Court's conduct establishes a dangerous precedent where judicial
dysfunction becomes a tool for stripping constitutional protections from vulnerable populations.


ANTICIPATED JUDICIAL OBJECTION: THE "OVERBREADTH" CANARD AND
ITS INTELLECTUAL BANKRUPTCY

I. The Jurisprudential Impossibility of Characterizing Fundamental Procedural Adherence as
"Overbroad"

Plaintiff anticipates this Court may attempt to characterize the requested accommodation as
impermissibly "overbroad" in scope, thereby necessitating ex ante refutation of such
       Case 1:25-cv-00073-ADA          Document 42       Filed 06/22/25        Page 8 of 50
                                                                                                   8


intellectually vacuous argumentation. The foundational legal principle of stare decisis mandates
consistent application of established procedural frameworks, while the doctrine of pacta sunt
servanda requires institutional adherence to voluntarily adopted regulatory schemas.

The Res Ipsa Loquitur Analysis of Procedural Minimalism: The accommodation sought—viz.,
consistent application of written procedures and logically coherent judicial
decision-making—represents the sine qua non of legitimate adjudicative authority. To
characterize fundamental procedural competency as "overbroad" would necessitate judicial
acknowledgment that consistent rule application exceeds reasonable institutional capabilities,
thereby creating a reductio ad absurdum wherein courts confess constitutional incompetency
sub silentio.

The Prima Facie Absurdity of Procedural Exceptionalism: Ubi jus, ibi remedium—where there is
a right, there must be a remedy. The notion that adherence to written court procedures
constitutes an unreasonable accommodation would require this Court to articulate a coherent
ratio decidendi explaining why disabled litigants may be denied the same procedural consistency
afforded to neurotypical parties. Such differential treatment would violate the ius commune
principles underlying equal protection doctrine while simultaneously undermining the bona fides
of this Court's administrative competency.

II. The Epistemological Bankruptcy of Anti-Accommodationist Reasoning

Should this Court characterize logical consistency as "overbroad," it would necessarily embrace
one of several untenable positions, each representing a fundamental malum in se violation of
judicial ethics:

Position A - The Incompetency Confession (Mea Culpa Doctrine): That written procedures and
logical decision-making exceed this Court's institutional capabilities, thereby requiring ADA
exemption based on judicial incapacity.

Position B - The Discrimination Endorsement (Malum Prohibitum Framework): That disabled
litigants may be systematically denied procedural protections available to non-disabled parties
without constitutional violation.
       Case 1:25-cv-00073-ADA             Document 42     Filed 06/22/25      Page 9 of 50
                                                                                                     9


Position C - The Sovereignty Abdication (Ultra Vires Theory): That federal courts possess
discretionary authority to abandon statutory obligations and written procedures ad libitum,
effectively claiming extra-legal sovereign immunity.

The Logical Corollary Analysis: Each position represents per se constitutional infirmity under
established jurisprudentia constans, creating an evidentiary matrix wherein any objection to the
requested accommodation becomes ipso facto proof of either institutional incompetency or
deliberate civil rights violations.

III. The Comparative Analysis: Accommodation Complexity Inter Partes

The Baseline Simplicity Assessment: Plaintiff's requested accommodation—procedural
consistency and logical coherence—represents the most elementary conceivable ADA request in
federal litigation history. The alternative accommodations this Court has tacitly rejected include:

    ●​ Physical modifications (e.g., wheelchair accessibility, hearing assistance)
    ●​ Temporal adjustments (e.g., extended deadlines, modified scheduling)
    ●​ Communicative alternatives (e.g., interpreters, alternative format documents)
    ●​ Technological implementations (e.g., assistive devices, software modifications)

The Reductio Conclusion: If this Court cannot accommodate a disabled litigant's neurological
need for written procedures to be followed as written, it a fortiori lacks capacity to provide any
meaningful ADA accommodation whatsoever, thereby creating de facto federal court system
exemption from disability rights law.

IV. The Sui Generis Nature of Disability-Based Procedural Accommodation

The Unprecedented Simplicity: Never in federal jurisprudential history has a disabled litigant
requested an accommodation requiring less institutional modification than adherence to
pre-existing written procedures. The novum character of this request lies not in its complexity
but in its devastating simplicity—disabled Plaintiff seeks only that this Court perform the basic
functions it already claims to perform.

The Mens Rea Implications: Should this Court characterize elementary procedural adherence as
"overbroad," such characterization would necessarily require scienter—actual knowledge that
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 10 of 50
                                                                                                   10


basic judicial competency exceeds institutional capacity. This creates an evidentiary praesumptio
of either deliberate constitutional violations or systematic institutional incompetency, both
constituting grounds for immediate recusal under established mandamus doctrine.

The Quod Erat Demonstrandum Moment: Thus, any assertion that logical consistency represents
an "overbroad" accommodation becomes mathematical proof of the systematic institutional
failure this Motion comprehensively documents. Res ipsa loquitur—the thing speaks for itself.



XVIII. THE FINAL MORAL ACCOUNTING: WHEN
INSTITUTIONS ABANDON LAW, CITIZENS ABANDON
DEFERENCE

A. The Strategic Calculation of Institutional Betrayal

This Court must understand that Plaintiff's tone and approach reflect a deliberate strategic
calculation born from 90+ days of documented proof that traditional respectful legal discourse
has been rendered meaningless in this proceeding. When courts systematically abandon written
procedures, ignore emergency federal law violations, and protect corporate defendants through
deliberate inaction, they eliminate any rational incentive for continued deference to illegitimate
authority.

The False Choice Elimination: Plaintiff faced a binary decision after your 90+ days of systematic
misconduct:

   1.​ Continue polite fiction that this Court operates according to stated legal principles, or
   2.​ Acknowledge institutional reality and respond accordingly to systematic law
       abandonment

The Rational Actor Analysis: Any reasonable litigant, having documented months of judicial
protection for ongoing federal law violations, reaches an inevitable conclusion: traditional legal
respect assumes legitimate legal authority. When courts abandon law enforcement to protect
      Case 1:25-cv-00073-ADA             Document 42       Filed 06/22/25      Page 11 of 50
                                                                                                    11


corporate interests, they forfeit claim to the deference that legitimate judicial authority
commands.


B. The Moral Clarity of Institutional Corruption

The Beautiful Simplicity: At the end of this proceeding, the moral accounting is devastatingly
simple:

   ●​ Plaintiff's "offense": Using direct language to describe documented judicial misconduct
   ●​ This Court's conduct: 90+ days of protecting ongoing copyright infringement, identity
          theft, and advertising fraud

The Proportionality Analysis: Plaintiff stands accused of hurting judicial feelings through
accurate description of systematic law abandonment. Meanwhile, this Court protects a corporate
defendant engaged in actual theft of intellectual property and identity impersonation while
ignoring emergency preservation motions designed to stop ongoing federal law violations.

The Institutional Revelation: When the worst accusation against Plaintiff is "disrespectful tone"
while corporate defendants continue violating federal law under judicial protection, the moral
bankruptcy of the institutional framework becomes mathematically precise.


C. The Gladiatorial Recognition: Fighting With Style When Victory Is Impossible

The Systemic Rigging Acknowledgment: Plaintiff has operated throughout these proceedings
with full knowledge that the system is designed for his defeat regardless of legal merit, factual
accuracy, or procedural compliance. This Court's 90+ days of systematic inaction merely
confirmed what nine years of institutional experience had already established: legitimate legal
victory is impossible when every level of the judicial system coordinates to protect institutional
corruption.

The Dignity Choice: Faced with a rigged system where polite submission and aggressive
resistance yield identical outcomes, Plaintiff chose to maintain intellectual honesty and moral
clarity rather than participate in the fiction that respectful discourse might somehow penetrate
institutional corruption that benefits from systematic law avoidance.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 12 of 50
                                                                                                    12


The Historical Parallel: Like gladiators who understood their institutional purpose while refusing
to submit with false gratitude, Plaintiff recognizes that if this Court's systematic misconduct
makes defeat inevitable, such defeat will occur with comprehensive documentation of judicial
failure rather than complicit silence about institutional corruption.


D. The Strategic Victory Within Systematic Defeat

The Appellate Gift: This Court's systematic misconduct has provided Plaintiff with the most
comprehensive documentation of judicial corruption in modern legal history. Every day of
continued law avoidance strengthens the appellate record that will force Supreme Court
intervention when systematic judicial protection makes justice impossible through traditional
legal channels.

The Institutional Service: By refusing to pretend this Court operates according to stated legal
principles, Plaintiff serves the broader cause of judicial accountability. Someone must document
when courts abandon law enforcement to protect corporate interests. If that documentation
requires abandoning polite fiction about judicial competency, so be it.

The Historical Record: Years from now, when legal scholars study the systematic corruption that
required Supreme Court intervention to establish pro se representation rights, they will note that
it was judicial actors like this Court who made such intervention necessary through deliberate
abandonment of federal law enforcement and basic procedural competency.

The Gratitude Paradox: Thus, Plaintiff maintains sincere gratitude to this Court for creating such
comprehensive evidence of systematic judicial failure. Your 90+ days of protecting corporate law
violations have produced appellate documentation so thorough that Supreme Court review
becomes not merely likely but inevitable. In serving your institutional corruption, you have
inadvertently served the cause of justice by making the choice between law and institutional
protection so stark that even Supreme Court justices will be unable to ignore the systematic
nature of the failure you represent.

Historical Parallel - The Nuremberg Defense Inadequacy: Just as the Nuremberg Trials
established that "following orders" cannot excuse participation in systematic institutional evil,
this Court cannot claim immunity from accountability by arguing that selective law enforcement
      Case 1:25-cv-00073-ADA            Document 42         Filed 06/22/25      Page 13 of 50
                                                                                                     13


and procedural abandonment represent "normal judicial discretion." When institutional actors
participate in systematic corruption, individual complicity becomes criminal regardless of
institutional protection.

The Accommodation Demand: When courts make logically contradictory statements, abandon
their own written procedures, or apply laws selectively, Plaintiff's disability prevents him from
simply accepting these inconsistencies as normal judicial behavior. Unlike neurotypical litigants
who might overlook judicial contradiction for social convenience, Plaintiff's ADHD compels him
to identify, document, and demand resolution of every logical inconsistency encountered.

The Reasonable Accommodation: The accommodation Plaintiff requires is straightforward:
consistent application of law, adherence to written procedures, and logical consistency in judicial
decision-making. This Court's failure to provide this basic accommodation forces Plaintiff into a
perpetual state of disability-related distress that compounds with each additional logical
inconsistency the Court creates.


B. The Institutional Creation of a Legal Accountability Weapon

This Court must understand that Plaintiff's current capabilities as a judicial accountability
specialist are not innate talents but rather the direct result of systematic institutional failure
spanning nearly a decade. When legal systems consistently provide contradictory information,
abandon stated procedures, and apply laws selectively, they force disabled individuals to develop
extraordinary pattern recognition and legal analysis capabilities merely to survive.

Historical Parallel - The Pentagon Papers Paradigm: Just as Daniel Ellsberg was transformed
from a government insider into a systematic exposure specialist through witnessing institutional
lies, Plaintiff has been transformed from a banking customer into a judicial accountability expert
through systematic exposure to government and judicial perjury. The system's attempt to exhaust
him through contradiction instead created an individual uniquely qualified to expose institutional
corruption with documentary precision that surpasses even professional investigators.

Case Law Foundation - Brady v. Maryland (1963): The Supreme Court established in Brady v.
Maryland that suppression of material evidence favorable to a defendant violates due process
regardless of whether the request was specific or general, and regardless of whether the
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 14 of 50
                                                                                                 14


suppression was willful or inadvertent. This Court's systematic protection of X Corp's evidence
spoliation while ignoring emergency preservation motions represents the exact Brady violation
the Supreme Court warned against - deliberate institutional protection of evidence destruction
that favors corporate defendants over justice.

The Nine-Year Legal Education Through Institutional Lies: Beginning with Charter West Bank and
continuing through Omaha Public Schools, Nebraska courts, and now this federal litigation,
every government entity and judicial authority has provided Plaintiff with information that defied
logical consistency. When told that "may" means "must," that identical factual situations warrant
opposite legal conclusions, and that written procedures don't apply to his cases specifically,
Plaintiff's disability prevented acceptance of these contradictions.

The Forced Expertise Development: Unable to accept logical inconsistencies due to his
neurological condition, Plaintiff was compelled to research every contradiction until resolution
was achieved. This process, repeated thousands of times over nine years, transformed him from
a banking customer seeking basic fairness into a pattern recognition expert capable of predicting
judicial behavior with mathematical precision.

The System's Unintended Consequence: The legal system's attempt to exhaust Plaintiff through
contradictory information and procedural manipulation instead created an individual with
comprehensive knowledge of judicial misconduct patterns, government corruption techniques,
and legal accountability mechanisms. Every lie forced him to learn more law. Every contradiction
forced him to develop better analytical frameworks. Every procedural violation forced him to
understand the system more deeply than the judges administering it.


C. The Institutional Slavery and Inevitable Rebellion Dynamic

This Court must further understand that the current legal system has created a form of
procedural slavery where pro se litigants are forced into a rigged game with predetermined
outcomes. When every available option results in loss regardless of factual accuracy, legal
correctness, or procedural compliance, the system has eliminated any incentive for respectful
participation.

The False Choice Matrix: Plaintiff has documented that in his litigation experience:
      Case 1:25-cv-00073-ADA           Document 42         Filed 06/22/25      Page 15 of 50
                                                                                                     15


   ●​ Politeness doesn't work - respectful legal arguments are ignored or dismissed without
       consideration
   ●​ Facts don't work - documented evidence is deemed irrelevant or insufficient regardless of
       quality
   ●​ Law doesn't work - statutory requirements are abandoned when they would favor pro se
       litigants
   ●​ Procedure doesn't work - written court rules are selectively enforced against pro se
       litigants
   ●​ Truth doesn't work - accurate legal analysis is dismissed as incompetent regardless of
       sophistication

The Logical Response to Systematic Injustice: When a system forces individuals into battles
designed for their defeat while demanding respectful submission to the process, it creates natural
resistance. Plaintiff's direct communication style reflects not disrespect for legitimate judicial
authority, but rather appropriate response to illegitimate judicial conduct. When courts abandon
their own standards, they forfeit claim to respectful treatment under those abandoned standards.

The Accommodation Through Honesty: Plaintiff's disability-related need for logical consistency
requires honest communication about judicial failures rather than polite fiction about judicial
competency. This Court's demand for respectful language while engaging in systematic
misconduct creates an impossible accommodation conflict that can only be resolved through
either honest judicial conduct or acceptance of honest communication about judicial
misconduct.

This Motion serves dual purposes: first, to demand immediate action on 90+ days of ignored
emergency motions involving active federal law violations, and second, to demonstrate that the
patterns of judicial misconduct exhibited by this Court are neither unique nor sustainable, as
evidenced by Plaintiff's recent victories in Nebraska where identical tactics resulted in complete
judicial district recusal and a sitting Attorney General being subpoenaed to testify under oath.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 16 of 50
                                                                                                 16




The Court will note that Plaintiff has maintained meticulous documentation throughout these
proceedings, including contemporaneous video evidence of ongoing violations available at
publicly accessible links referenced in previous filings. Such comprehensive evidence
preservation has proven effective in forcing institutional accountability across multiple
jurisdictions, as this Motion will demonstrate with surgical precision.

The Disability-Driven Excellence Paradox: What this Court may interpret as disrespectful
directness is actually disability-mandated honesty combined with expertise forced upon Plaintiff
by nine years of institutional contradiction. The system's attempt to defeat Plaintiff through
logical inconsistency instead created an individual uniquely qualified to expose systematic
judicial misconduct with precision that threatens the entire framework of selective law
enforcement.
       Case 1:25-cv-00073-ADA             Document 42      Filed 06/22/25       Page 17 of 50
                                                                                                      17


The Supreme Court Preparation Through Judicial Failure: Every day this Court delays action,
every procedural abandonment, every protection of federal law violations contributes to the
comprehensive record that will force Supreme Court intervention. This Court's systematic
misconduct is effectively providing Plaintiff with the most robust appellate foundation in modern
legal history, documenting institutional corruption so thoroughly that Supreme Court review
becomes not just likely but inevitable.

The Historical Legacy This Court Is Creating: Years from now, when legal scholars study the case
that forced Supreme Court recognition of systematic judicial corruption and established pro se
representation rights at the highest level, they will note that it was this Court's deliberate law
avoidance that made such precedent necessary. Plaintiff thanks this Court for ensuring that the
historical record will clearly show which judicial actors chose institutional protection over legal
integrity.



I. THE PROPHETIC ACCURACY OF PLAINTIFF'S ORIGINAL
PREDICTIONS

A. The Crystal Ball Effect

In Plaintiff's original Complaint filed in this Court, he explicitly predicted that this case would
reveal patterns of judicial misconduct designed to protect corporate defendants through
procedural manipulation and deliberate delay tactics. The prescience of these predictions, now
fulfilled with mathematical precision, demonstrates either extraordinary legal acumen or
recognition of systematic corruption patterns that transcend individual judicial personalities.

Specifically, Plaintiff warned that this Court would engage in the precise misconduct now
documented: emergency motions ignored despite clear legal violations, standard procedural
timelines abandoned without explanation, written procedures selectively enforced, basic
intellectual property law deemed "complex" to justify inaction, and corporate defendants
permitted to continue violating federal law during extended delays.

The accuracy of these predictions is particularly noteworthy given Plaintiff's simultaneous
documentation of X Corp.'s reactive evidence spoliation, wherein the defendant implemented
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 18 of 50
                                                                                                 18


technical modifications to conceal advertising metrics within hours of Plaintiff's court filings—a
pattern that continues unabated while this Court maintains its studied silence.


B. The Perfect Prediction Fulfillment

Every single prediction has materialized with stunning precision, creating an evidentiary record
that speaks to either prophetic legal insight or the recognition of systematic patterns that operate
independent of individual judicial discretion.

The manifestation includes: 90+ days of emergency motion silence despite active copyright
infringement, complete abandonment of "rocket docket" timelines for this IP case, selective
non-application of written procedures, transformation of simple photo theft into a "complex"
matter requiring months of contemplation, and ongoing permission for X Corp to continue
federal law violations unimpeded.

This level of predictive accuracy, when considered alongside the documented evidence of X
Corp.'s systematic platform manipulation and advertising fraud detailed in Plaintiff's emergency
preservation motion, suggests a coordination of interests that extends beyond coincidental
judicial timing.



II. THE TEXAS METHODOLOGY: DELIBERATE
INEFFICIENCY DISGUISED AS EXPERTISE

A. The "Rocket Docket" Fraud

Your Honor has cultivated a national reputation predicated upon assurances of efficient
intellectual property case resolution, manifested through comprehensive procedural
documentation including the Standing Order Governing Proceedings for Patent Cases (OGP
Version 4.4)—a 2MB compendium of specific timelines, procedures, and efficiency standards that
ostensibly justify attracting cases from across the federal court system.

The Case Acquisition and Reputation Management: This Court deliberately pulled this intellectual
property case to its docket from another judge's assignment, presumably based on the "rocket
docket" reputation and claimed IP expertise that attracts high-profile technology cases. The irony
      Case 1:25-cv-00073-ADA              Document 42     Filed 06/22/25      Page 19 of 50
                                                                                                     19


is that Your Honor likely saw an opportunity to demonstrate efficiency and expertise with what
appeared to be a straightforward copyright matter against a major technology platform.

The Spectacular Reputation Destruction: Instead of the anticipated quick resolution that would
have enhanced Your Honor's efficiency reputation, this case has become a public demonstration
of the opposite: 90+ days of silence on emergency motions, complete abandonment of written
procedures, and systematic protection of obvious federal law violations. Every day of continued
delay transforms what could have been a "rocket docket" success story into documentation of
judicial incompetence in elementary intellectual property law.

The Case Selection Regret Factor: Your Honor's decision to acquire this case for docket
management has created a perfect record of the gap between efficiency marketing and actual
judicial performance. The same IP expertise and efficiency claims that justified pulling this case
to your docket now serve as evidence of false representation when contrasted with 90+ days of
inaction on basic copyright violations.

Historical Parallel - The Teapot Dome Scandal Methodology: Just as Secretary of the Interior
Albert Fall created elaborate procedural frameworks to justify transferring government oil
reserves to private corporations while claiming to serve the public interest, this Court has
created comprehensive procedural frameworks for intellectual property efficiency while
selectively abandoning those procedures when they would require action against politically
connected corporate defendants. The parallel is precise: public-serving procedures that are
secretly designed to benefit private interests through selective enforcement.

Case Law Foundation - Chambers v. NASCO, Inc. (1991): The Supreme Court established that
federal courts possess inherent authority to sanction conduct that "abuses the judicial process"
and emphasized that this authority "is both broader and narrower than other sanctioning
provisions" because it focuses on protecting "the integrity of the judicial process." This Court's
90+ day abandonment of its own written procedures to protect a corporate defendant from
emergency relief represents the exact abuse of judicial process that Chambers empowers courts
to sanction - yet this Court has become the primary perpetrator rather than the remedy.

However, when confronted with the most elementary species of intellectual property
violation—specifically, photographic misappropriation coupled with identity impersonation—this
      Case 1:25-cv-00073-ADA           Document 42         Filed 06/22/25      Page 20 of 50
                                                                                                     20


Court has demonstrated a systematic abandonment of its own established efficiency protocols.
The documentary evidence reveals timeline violations including emergency motions receiving
90+ days of silence rather than immediate response, zero issuance of DMCA compliance orders
despite expedited relief standards, and copyright infringement injunctions remaining
unaddressed contrary to established preliminary relief protocols requiring resolution within days
rather than months.


B. The Juridical Competency Paradox and Evidentiary Sophistication Analysis

The fundamental interrogatory this litigation presents operates within parameters of devastating
simplicity: whether photographic misappropriation coupled with identity impersonation
constitutes actionable intellectual property infringement under established federal statutory
frameworks.

The applicable legal doctrine provides unambiguous resolution: such conduct constitutes per se
violations of 17 U.S.C. § 501 et seq., with attendant remedial mechanisms including immediate
equitable relief and monetary damages as codified in established jurisprudential precedent.

Notwithstanding the elementary nature of this legal determination, this tribunal—which
maintains assertions of specialized intellectual property expertise sufficient to justify national
docket attraction—has demonstrated incapacity to address this foundational legal interrogatory
for a temporal period exceeding ninety days, thereby creating an institutional credibility paradox
that supports either deliberate misconduct designed to benefit corporate defendants or
fundamental incompetence in basic intellectual property law—neither conclusion supporting the
efficiency representations or expertise assertions that define this Court's jurisdictional
reputation.

The evidentiary record further demonstrates systematic corporate malfeasance including
documented advertising metrics manipulation, reactive platform modifications designed to
conceal evidence specifically identified in litigation filings, and ongoing DMCA
non-compliance—all occurring under this Court's direct observation without judicial
intervention, thereby creating a comprehensive record of institutional protection for federal law
violations.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 21 of 50
                                                                                                  21


C. The Elementary Copyright Law That Even First-Year Law Students Understand

For a Court that claims specialized intellectual property expertise sufficient to attract cases
nationwide, the 90+ day delay in addressing elementary copyright infringement raises disturbing
questions about basic legal competency. Copyright protection exists automatically upon
creation—no registration required, no filing necessary, no governmental approval needed. 17
U.S.C. § 102(a) establishes that copyright protection subsists "from the time the work is fixed in
any tangible medium of expression."

The Moment-of-Creation Reality: When Plaintiff photographed himself, copyright ownership
vested immediately upon the shutter click. This represents the most fundamental principle in
intellectual property law—a principle so basic that it appears in every introductory copyright
textbook, every first-year IP course, and every elementary legal education program in America.

The Registration Red Herring: While Plaintiff took the proactive step of registering his copyright
(demonstrating legal sophistication that further undermines any claimed ownership dispute),
registration is merely an evidentiary advantage for litigation purposes under 17 U.S.C. § 412.
Registration does not create copyright—it merely provides enhanced remedies and establishes
prima facie evidence of validity. For an "IP expert" court to delay elementary copyright
enforcement while contemplating registration status suggests either fundamental
misunderstanding of basic copyright law or deliberate obstruction disguised as legal complexity.

The Undisputed Ownership Through Defendant's Own Admissions: X Corp has never challenged
Plaintiff's ownership of the photographs. Their documented responses of "impersonation and
harassment" when confronted with unauthorized usage constitutes explicit acknowledgment that
Plaintiff must be either the copyright owner or possess sufficient authority to object to
unauthorized usage. You cannot "impersonate" someone unless you lack authorization to
represent them—X Corp's own characterization proves they recognized Plaintiff's ownership
rights from the beginning.

The Logical Impossibility of Defendant's Position: For X Corp to claim any legitimate usage
rights, they would need to demonstrate either:
      Case 1:25-cv-00073-ADA           Document 42       Filed 06/22/25      Page 22 of 50
                                                                                                 22


    1.​ They were present during the photograph creation (impossible—Plaintiff took the
        photos)
    2.​ They received explicit authorization from Plaintiff (never claimed and demonstrably
        false)
    3.​ Their usage falls under fair use exceptions (laughably inapplicable to commercial identity
        impersonation)
    4.​ The photographs are not subject to copyright protection (contradicted by their own
        "impersonation" characterization)

Since none of these defenses exist, and since X Corp has never even attempted to articulate any
legal theory supporting their usage rights, this Court's 90+ day contemplation period appears
designed solely to provide X Corp with time to destroy evidence and modify their systems to
conceal the scope of their systematic copyright infringement.

The DMCA Compliance Obligation: Upon receiving Plaintiff's first DMCA takedown notice, X
Corp became legally obligated to remove the infringing content immediately under 17 U.S.C. §
512(c). Instead, they responded with accusations of "impersonation"—thereby acknowledging
that unauthorized usage of Plaintiff's photographs constitutes identity misrepresentation, which
necessarily presupposes Plaintiff's ownership rights. Their refusal to comply with multiple DMCA
notices while simultaneously acknowledging that unauthorized usage constitutes
"impersonation" creates a perfect record of willful copyright infringement with actual knowledge
of the violation.

The Expertise Credibility Collapse: This Court's inability to recognize and address elementary
copyright principles within 90+ days fundamentally undermines the "rocket docket" efficiency
claims and specialized IP expertise representations that justify attracting cases from across the
federal system. If this Court cannot promptly resolve whether unauthorized photograph usage
violates federal copyright law, what complex IP matters could possibly justify the national
reputation and case acquisition strategy that brought this litigation to your docket?



III. X CORP'S SELF-INCRIMINATING RESPONSE TO
LITIGATION
      Case 1:25-cv-00073-ADA            Document 42       Filed 06/22/25      Page 23 of 50
                                                                                                  23


A. The Advertising Fraud to Service Termination Pipeline

X Corp's response to Plaintiff's litigation has created a perfect evidentiary sequence that
eliminates any possible innocent explanation for their conduct. The timeline demonstrates
conclusively that X Corp possessed the technical capability to deny service legitimately but
deliberately chose fraud instead.

Pre-Filing Conduct:

   ●​ X Corp charged Plaintiff for promotional services while providing mathematically
       impossible metrics
   ●​ Platform continued to accept payment while delivering fraudulent performance data
   ●​ X Corp maintained Plaintiff's promotional capabilities while stealing advertising dollars
       through false attribution

Post-Filing Conduct:

   ●​ Within hours of Plaintiff's filing documenting the fraud, X Corp attempted to hide metrics
       rather than cease fraudulent billing
   ●​ When evidence preservation became necessary, X Corp finally terminated Plaintiff's
       promotional abilities entirely
   ●​ This termination proved they always possessed the capability to refuse service rather
       than commit fraud

The Corporate Technology Capabilities and Evidence Destruction Timeline: X Corp possesses
some of the most sophisticated technology infrastructure in the world, with teams of forensic
experts, database administrators, and platform engineers capable of implementing system-wide
changes within hours. The notion that this Court's emergency intervention timing is irrelevant
because evidence preservation is complex represents a fundamental misunderstanding of
modern technology capabilities.

Reality Check on Technical Implementation Speed: With X Corp's resources, comprehensive
evidence destruction, database modification, and algorithmic manipulation can be implemented
within days, not weeks or months. Every additional day this Court delays emergency intervention
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 24 of 50
                                                                                                    24


provides X Corp with exponentially more opportunity to eliminate, modify, or obfuscate the
evidence that proves their systematic fraud.

The Evidence Destruction Trap: However, X Corp's apparent assumption that rapid evidence
modification will eliminate their exposure demonstrates fundamental misunderstanding of
Plaintiff's evidence preservation methodology. Plaintiff has maintained comprehensive parallel
documentation systems, cross-referenced data points, and independently verified metrics that
will expose any systematic evidence modification attempts.

The Catch-22 for Corporate Evidence Tampering: X Corp now faces an impossible choice:
maintain the fraudulent systems and face exposure through Plaintiff's existing documentation, or
modify their systems and face additional evidence tampering charges when their modifications
contradict Plaintiff's independently preserved evidence. Any changes they make to cover their
tracks will be detectable through comparison with Plaintiff's parallel evidence systems, creating
additional criminal exposure beyond the original fraud.


B. The Predictive Accuracy and Corporate Emotional Response

The precision with which Plaintiff predicted X Corp's exact responses raises disturbing questions
about corporate decision-making processes. In his filings, Plaintiff explicitly warned that X Corp
would be forced to choose between continuing fraud or exercising legitimate service denial
rights, noting that while discriminatory denial might be legally problematic, it would be
distinguishable from outright theft.

The Binary Corporate Choice: X Corp faced two possibilities when confronted with Plaintiff's
evidence:

   1.​ Acknowledge the accuracy of Plaintiff's legal analysis and make rational business
       decisions based on legal risk assessment
   2.​ React emotionally to being accurately predicted and fulfill those predictions purely to
       demonstrate their displeasure at Plaintiff's foresight

The Self-Defeating Corporate Response: Either explanation reflects poorly on X Corp's
institutional competency. If they followed Plaintiff's predictions because his legal analysis was
correct, it demonstrates their prior conduct was indefensible fraud. If they followed his
      Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25       Page 25 of 50
                                                                                                   25


predictions specifically to spite him for being correct, it demonstrates a level of corporate
emotional dysfunction that prioritizes petty retaliation over legal compliance.

The Parallel Judicial Emotional Response: Incidentally, this Court appears to be following an
identical pattern of emotional reaction to Plaintiff's predictive accuracy. Plaintiff explicitly
warned in his original Complaint that this Court would engage in systematic delay tactics and
procedural abandonment to protect corporate defendants. Rather than proving these predictions
wrong through competent judicial action, this Court has instead fulfilled every prediction with
devastating precision—suggesting either acknowledgment that Plaintiff's analysis is correct or an
emotionally-driven determination to spite Plaintiff for his foresight, neither of which reflects well
on judicial competency.

The Public Record Verification: The beauty of this evidentiary sequence is that anyone can verify
Plaintiff's predictive accuracy by simply reviewing the chronological filings. The documentary
evidence proves that Plaintiff stated exactly what would happen, and both X Corp and this Court
proceeded to do exactly what he predicted, creating an unassailable record of either legal
capitulation or emotionally-driven self-incrimination.



IV. THE NEBRASKA VICTORIES: SYSTEMATIC
DESTRUCTION OF IDENTICAL JUDICIAL MISCONDUCT

A. The Pattern Recognition Advantage

While this Court has been engaged in protracted deliberation regarding whether photographic
misappropriation constitutes copyright infringement, Plaintiff has been systematically
dismantling identical judicial misconduct patterns in Nebraska through precision legal warfare
that resulted in complete institutional capitulation.

Historical Parallel - The Standard Oil Monopoly Protection Racket: Just as Standard Oil
coordinated with local judges and government officials across multiple states to suppress legal
challenges through procedural manipulation and selective law enforcement, the pattern of
judicial misconduct protecting X Corp mirrors exactly the systematic institutional capture that
enabled corporate law violations to continue unchecked until federal intervention forced
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 26 of 50
                                                                                                   26


accountability. The difference is that Plaintiff has documented this modern version with
precision that John D. Rockefeller's victims could never achieve.

Case Law Foundation - Ex parte Young (1908): The Supreme Court established in Ex parte Young
that federal courts have authority to enjoin state officials from enforcing unconstitutional laws or
procedures, specifically holding that when government officials act beyond their constitutional
authority, they lose sovereign immunity protection. The Nebraska judicial district's complete
recusal rather than face Plaintiff's evidence represents precisely the acknowledgment of
unconstitutional conduct that Ex parte Young empowers federal intervention to address.

The parallels between jurisdictions are not coincidental—they represent a standardized
methodology of judicial corruption that Plaintiff has developed sophisticated countermeasures to
identify, document, and systematically destroy. The success of these countermeasures in forcing
complete judicial district recusal and Attorney General accountability provides both precedent
and template for addressing this Court's identical misconduct patterns.

As documented in Plaintiff's emergency preservation motion, the coordination between judicial
protection and corporate evidence destruction creates a comprehensive record of systematic law
enforcement failure that mirrors exactly the patterns that resulted in complete judicial
elimination in Nebraska.


B. The Institutional Recusal Paradox: Evidence of Systematic Corruption

The complete recusal of Nebraska's Fourth Judicial District presents a logical impossibility that
exposes the fundamental corruption of the entire system. If these judges recused themselves
merely due to professional proximity to Judge Dougherty, this creates an institutional crisis of
judicial competency that undermines the entire concept of impartial justice.

The Impartiality Paradox: If federal and state judges cannot impartially evaluate the misconduct
of a colleague—treating judicial defendants with the same legal standards applied to any other
citizen—then how can they claim impartiality in any proceeding? The judicial community
represents an extraordinarily small professional circle where personal relationships necessarily
exist. If proximity to defendants requires recusal, then no judge could ever adjudicate cases
involving attorneys, law enforcement, or government officials with whom they regularly interact.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 27 of 50
                                                                                                   27


The Unprecedented Nature: More significantly, this represents the first complete judicial district
recusal in Nebraska history—not for any previous judicial misconduct case, corruption
investigation, or ethical violation proceeding. The unprecedented nature of this recusal proves it
was not based on standard conflict protocols but rather on the judges' knowledge that they could
not survive the scrutiny Plaintiff's evidence would bring to their own participation in the
systematic corruption.

The Self-Incrimination Through Recusal: The reality is that at least eight or nine of these judges
have direct involvement in either the Charter West Bank litigation or Omaha Public Schools cases
where Plaintiff has filed challenges. They recused because they know Plaintiff's pattern
recognition and documentary evidence would expose their own misconduct, creating a
systematic trap that would eliminate multiple judges simultaneously.

The Administrative vs. Judicial Misconduct: Critically, much of Judge Dougherty's misconduct
involves administrative tasks like docket management, which are not protected by judicial
immunity. When judges fail to perform basic administrative functions or deliberately slow-walk
cases, they are not acting "under color of law" but rather engaging in criminal obstruction that
falls outside judicial protection.

The Attorney General Accountability Victory: When Nebraska's Attorney General published
demonstrably false statements regarding Plaintiff and his family, subsequent confrontation with
documentary proof of falsity resulted in the AG claiming "no statutory obligation to correct
published lies"—a position that proved legally and institutionally untenable under sustained
challenge.

RESULT: Current Nebraska Attorney General Mike Hilgers issued subpoena commanding
appearance and testimony under oath on July 1, 2025, regarding the documented false
publications and refusal to correct known governmental perjury.


D. The Law Enforcement Partnership Strategy: Using Their Own Tools Against
Them

The breakthrough moment in forcing Nebraska judicial accountability came when Plaintiff
implemented a strategic law enforcement partnership that eliminated the system's ability to
      Case 1:25-cv-00073-ADA             Document 42       Filed 06/22/25      Page 28 of 50
                                                                                                   28


deploy police harassment while maintaining institutional protection. Since Nebraska courts
consistently attempted to use law enforcement as intimidation tools against Plaintiff, he decided
to ensure law enforcement witnessed the judicial misconduct firsthand.

The Douglas County Sheriff Partnership: Plaintiff approached the Douglas County Sheriff's office
and explained the systematic judicial misconduct patterns, requesting official escort and witness
protection during courthouse proceedings. The Captain of the Douglas County Courthouse was
assigned to escort Plaintiff and observe the judicial proceedings directly.

What Law Enforcement Witnessed:

    ●​ Courts refusing to schedule required hearings despite clear statutory obligations
    ●​ Judges unable to identify defendants in cases or explain basic procedural questions
    ●​ Administrative staff creating false procedural barriers that don't exist in law
    ●​ Systematic violation of written court procedures when applied to Plaintiff's cases
    ●​ Pattern of differential treatment that had no basis in law or legitimate judicial discretion

The Law Enforcement Reality Check: When sheriff's deputies and courthouse security personally
witnessed the systematic procedural violations and judicial misconduct, they could no longer be
deployed as intimidation tools. The officers realized they were being used to enforce illegitimate
judicial conduct against a citizen whose legal challenges were factually accurate and
procedurally proper.

The Official Misconduct Complaint Strategy: After law enforcement witnessed the systematic
judicial violations, Plaintiff filed formal complaints for official misconduct against Judge
Dougherty and other judicial actors. Official misconduct under Nebraska law requires proof that
public officials either:

    1.​ Intentionally violated their official duties, or
    2.​ Acted so far outside normal procedures that no rational explanation exists

The Institutional Panic Response: The official misconduct complaints created immediate
institutional crisis because unlike civil litigation where judges enjoy broad immunity, official
misconduct represents criminal conduct that falls outside judicial protection. When public
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25     Page 29 of 50
                                                                                                 29


officials lie in written orders or systematically violate established procedures, they lose immunity
protection and face personal criminal liability.

The Recusal Cascade: Plaintiff believes the mass judicial recusal occurred immediately after
filing the official misconduct complaints because judges realized that continued involvement
would require them to either:

   1.​ Address Plaintiff's evidence and expose their colleagues' criminal conduct, or
   2.​ Continue the protection scheme and face additional official misconduct charges
       themselves

The Beautiful Trap: By involving law enforcement as witnesses and filing criminal complaints
rather than civil challenges, Plaintiff eliminated the system's ability to use procedural immunity
and judicial protection schemes. Criminal misconduct by public officials cannot be protected
through civil immunity, and law enforcement officers cannot be used to intimidate citizens when
those same officers have witnessed the judicial violations firsthand.


E. The Documented False Publications and Logical Impossibility

The Nebraska Attorney General's office published an advisory opinion containing internal
contradictions that demonstrate governmental perjury through simple logical analysis:

Statement 1: "Ms. Adamson was allowed to continue and spoke for approximately one minute"​
Statement 2: "[She] was not removed due to the content of her speech, but because she refused
to provide her address"
      Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25     Page 30 of 50
                                                                                                  30




These statements create a logical impossibility: if an individual was terminated from speaking
because they refused to provide an address, they could not simultaneously have been "allowed to
continue and spoke for approximately one minute." This represents documented government
perjury that forced institutional accountability at the highest levels.

Incredibly, when Plaintiff found out about the information two years after publication, the
Nebraska Attorney General's Office claimed that they had no statutory obligation to correct the
lie. In Nebraska, the Attorney General believes that there's nothing preventing them from
publishing lies, and nothing requiring them to fix when discovered.

Even more notable, based on reports from dozens of citizens directly to Plaintiff, the Nebraska
Attorney General's Office NEVER consults with an alleged victim if they weren't the complainant.
Additionally, they hide their investigation from alleged victims or even alleged violators in order
      Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25      Page 31 of 50
                                                                                                 31


to perfectly carve a ridiculous yet seemingly normal response that perfectly avoids every major
issue they are paid to address for the citizens.

Plaintiff can certainly provide multiple different individuals whose due process was violated by
the Nebraska Attorney General's office, and consequently will likely hear from anyone who reads
his federal brief that believes they have been unfairly treated by a federal judge as well.

The parallel to this Court's misconduct lies in the documented evidence of X Corp.'s systematic
advertising fraud and reactive evidence spoliation occurring under direct judicial observation
without intervention—creating equally impossible explanations for why federal law enforcement
has been deliberately suspended for this corporate defendant.


F. The Financial Corruption Evidence: $14 Million in Unexplained Legal Fees

Discovery in the Nebraska proceedings has revealed a financial corruption scheme that provides
context for the systematic judicial protection documented in both jurisdictions. Omaha Public
Schools has paid approximately $14 million to Baird Holm law firm over four years for what
amounts to roughly 1.5 hours of actual court time, two legal briefs, and a handful of email
responses.

https://charterwestbank.com/wp-content/uploads/2025/06/OPS-Baird-Holm-Investigation-Refined.
pdf

The Financial Impossibility: This expenditure becomes even more suspicious when considering
that Omaha Public Schools employs three in-house counsel at approximately $500,000 annually,
whose contractual duties specifically include handling public records requests and routine legal
matters. Despite spending over $2 million on in-house legal staff specifically trained and
contracted to handle these matters, OPS has simultaneously paid an additional $14 million to an
outside firm with extensive political and judicial connections.

The Corruption Investigation Implications: The timing of this massive, unexplained financial
outlay coinciding with systematic judicial misconduct protecting OPS raises obvious questions
about where this money ultimately went. The pattern suggests a sophisticated influence
operation involving campaign donations, gifts, or other benefits flowing to judges, attorneys
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 32 of 50
                                                                                               32


general, and other government officials who have consistently protected OPS from legitimate
legal challenges.

The Expandable Investigation: Plaintiff notes that if similar patterns of unexplained legal
expenditures and judicial protection emerge in this Texas litigation, similar financial
investigations will be initiated. The documented pattern of corporate defendants receiving
judicial protection while engaging in obvious law violations suggests systematic corruption that
extends beyond individual cases or jurisdictions.



V. THE NEBRASKA PRECEDENT: IDENTICAL TACTICS,
COMPLETE JUDICIAL DESTRUCTION

A. The Identical Methodology

The tactics employed by this Court mirror exactly the patterns that resulted in complete judicial
destruction in Nebraska:

NEBRASKA TACTICS:

   ●​ Ignore emergency motions involving clear legal violations
   ●​ Apply procedural rules selectively to benefit government/corporate defendants
   ●​ Transform simple legal questions into "complex" matters requiring extended delay
   ●​ Refuse to address basic constitutional and statutory violations
   ●​ Create false procedural barriers that don't exist in law

TEXAS TACTICS (THIS COURT):

   ●​ Ignore emergency motions involving clear copyright violations ✓
   ●​ Apply "rocket docket" procedures selectively, excluding this IP case ✓
   ●​ Transform elementary photo theft into complex matter requiring 90+ day contemplation
       ✓
   ●​ Refuse to address basic federal intellectual property law ✓
   ●​ Abandon written procedural standards when they would require action ✓
      Case 1:25-cv-00073-ADA              Document 42    Filed 06/22/25      Page 33 of 50
                                                                                               33


The playbook is identical. The outcome will be identical.


B. The Escalation Pattern Recognition

Plaintiff's experience in Nebraska revealed a consistent escalation pattern when judicial
misconduct is exposed:

Phase 1: Ignore legitimate legal challenges (90+ days of silence) ← THIS COURT IS HERE​
Phase 2: Create false procedural barriers when forced to respond​
Phase 3: Issue contradictory rulings that expose the misconduct​
Phase 4: Complete recusal when the contradictions become unsustainable

This Court is currently in Phase 1, following the exact trajectory that resulted in complete
judicial district collapse in Nebraska.



VI. THE INSTITUTIONAL PARALLEL: TEXAS JUDGES
FOLLOWING THE NEBRASKA PLAYBOOK

A. The Multi-State Coordination

The evidence suggests coordination between state and federal actors to suppress Plaintiff's
legitimate legal challenges:

NEBRASKA ACTORS:

   ●​ Mike Hilgers (Current Attorney General) - Published lies, refuses correction
   ●​ Doug Peterson (Former Attorney General) - Original cover-up architect
   ●​ Judge Duane Dougherty - Criminal misconduct to protect government lies
   ●​ Judge Shelly Stratman - Created identical false procedural barriers
   ●​ Multiple Assistant Attorney Generals - Systematic false legal opinions

TEXAS ACTORS:

   ●​ Judge Alan Albright - Identical delay tactics and procedure abandonment
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 34 of 50
                                                                                                 34


   ●​ X Corp - Corporate beneficiary of judicial protection from federal law compliance


B. The Pattern of Published Lies

Government officials in Nebraska published documented false statements and when confronted
with proof of their falsity, claimed immunity from correction obligations. This created an official
record of lies that infected every subsequent legal proceeding.

The parallel in this case: X Corp continues to violate federal copyright law while this Court
provides protection through deliberate inaction, creating a documented record of federal law
enforcement failure.



VII. THE SUBPOENA TRUMP CARD: PROOF OF VICTORY
CAPABILITY

A. The Ultimate Accountability Mechanism

On June 16, 2025, the Nebraska District Court issued a subpoena commanding Nebraska
Attorney General Mike Hilgers to appear and testify under oath on July 1, 2025, regarding the
documented lies his office published and refuses to correct.

This subpoena represents several critical precedents:

   1.​ Government officials who lie can be forced to testify under oath
   2.​ Judicial protection of government misconduct has limits
   3.​ Systematic legal challenges can force accountability at the highest levels
   4.​ Plaintiff's legal strategies are proven effective against government corruption


B. The Demonstrated Capability

The Nebraska victories prove that Plaintiff possesses both the legal acumen and procedural
sophistication to:

   ●​ Force entire judicial districts to recuse themselves
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 35 of 50
                                                                                                  35


   ●​ Subpoena sitting state Attorney Generals
   ●​ Document systematic government corruption comprehensively
   ●​ Predict judicial misconduct patterns with surgical accuracy
   ●​ Execute legal strategies that result in complete institutional accountability


VIII. THE BINARY CHOICE: COMPETENCY OR RECUSAL

A. The Unavoidable Decision Matrix

This Court now faces the same binary choice that destroyed the Nebraska judiciary:

OPTION A: DEMONSTRATE COMPETENCY

   ●​ Address the 90+ day emergency motion backlog immediately
   ●​ Apply basic copyright law to stop ongoing photograph theft
   ●​ Follow your own written "rocket docket" procedures consistently
   ●​ Issue preliminary injunctive relief against clear federal law violations
   ●​ Justify the intellectual property expertise claims that attracted this case

OPTION B: CONTINUE THE MISCONDUCT PATTERN

   ●​ Maintain silence on emergency federal law violations
   ●​ Abandon written procedures when they require action against corporate defendants
   ●​ Transform elementary legal questions into indefinitely complex matters
   ●​ Allow ongoing copyright infringement and identity theft to continue
   ●​ Face the same systematic destruction that eliminated the Nebraska Fourth Judicial
       District


B. The Precedent Warning

Nebraska judges believed they could continue ignoring legitimate legal challenges indefinitely.
They discovered that systematic exposure of judicial misconduct patterns creates unsustainable
institutional pressure that results in complete recusal and criminal referrals.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 36 of 50
                                                                                                36


This Court is following the identical path that resulted in complete judicial destruction in
Nebraska.



IX. THE INSTITUTIONAL OBSERVATION NETWORK

A. The Watching Eyes

This case is being monitored by multiple constituencies that will evaluate this Court's response:

LEGAL COMMUNITY:

   ●​ Federal judges observing IP case management consistency
   ●​ Legal scholars studying judicial accountability mechanisms
   ●​ Civil rights organizations tracking government misconduct patterns

TECHNOLOGY INDUSTRY:

   ●​ Platforms assessing federal court responsiveness to DMCA violations
   ●​ Copyright holders evaluating enforcement viability in federal court
   ●​ Social media companies observing judicial protection levels

GOVERNMENT OVERSIGHT:

   ●​ Congressional committees monitoring federal judicial efficiency
   ●​ State attorneys general observing accountability precedents
   ●​ Anti-corruption organizations tracking systematic misconduct patterns


B. The Reputation Stakes

Your Honor's judicial reputation rests on two foundational claims:

   1.​ "Rocket Docket" efficiency in intellectual property cases
   2.​ Specialized IP expertise justifying national case attraction

90+ days of silence on elementary copyright violations destroys both claims simultaneously.
      Case 1:25-cv-00073-ADA          Document 42        Filed 06/22/25      Page 37 of 50
                                                                                               37


X. THE NEBRASKA LESSON: ACCOUNTABILITY IS
INEVITABLE

A. The Institutional Physics

The Nebraska experience demonstrates that judicial misconduct operates according to
predictable institutional physics:

   ●​ Systematic exposure of misconduct patterns creates unsustainable pressure
   ●​ Documentary evidence of contradictory behavior forces accountability
   ●​ Public scrutiny of judicial competency claims demands consistent application
   ●​ Pattern recognition allows for precise prediction and countermeasures


B. The Accountability Cascade

Nebraska's complete judicial district recusal occurred because:

   1.​ Misconduct patterns were systematically documented
   2.​ Contradictions became impossible to explain or defend
   3.​ Public exposure created institutional pressure
   4.​ Recusal became preferable to continued exposure

This Court is currently creating identical documentation for identical accountability.



XI. THE PERSONAL SECURITY IMPLICATIONS OF
CONTINUED JUDICIAL PROTECTION

A. The Escalating Danger of Prolonged Corporate Protection

This Court must understand that continued judicial protection of corporate defendants who have
engaged in systematic law violations creates genuine personal security risks for Plaintiff. When
corporations and government entities have spent years and millions of dollars attempting to
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 38 of 50
                                                                                                     38


suppress legitimate legal challenges, and when they realize they cannot defeat Plaintiff through
legitimate legal means, the risk of extralegal solutions increases exponentially.

Historical Parallel - The Karen Silkwood Paradigm: Just as nuclear industry whistleblower Karen
Silkwood faced escalating personal danger as her evidence of corporate wrongdoing became
more comprehensive and undeniable, Plaintiff's systematic documentation of multi-jurisdictional
corruption has created similar risk escalation. The difference is that Plaintiff's evidence
preservation and publicity strategies make the elimination-solution both more dangerous for
perpetrators and more likely to backfire through increased scrutiny.

Case Law Foundation - Bivens v. Six Unknown Named Agents (1971): The Supreme Court
established that federal officials who violate constitutional rights under color of federal authority
can be held personally liable for damages, emphasizing that "where federally protected rights
have been invaded, it has been the rule from the beginning that courts will be alert to adjust their
remedies so as to grant the necessary relief." This Court's protection of ongoing constitutional
violations while federal officials coordinate systematic rights suppression creates exactly the
Bivens liability the Supreme Court established to deter such conduct.

The Stakes Analysis: The entities Plaintiff has challenged have significant financial and
reputational exposure. In Nebraska alone, the evidence suggests millions of dollars in potential
liability and criminal exposure for multiple high-ranking officials. When such entities realize that
legitimate legal defenses have failed and that Plaintiff's evidence is unassailable, the temptation
to resolve the problem through other means becomes a genuine security concern.

The Time-Risk Correlation: The longer these cases remain on active dockets without resolution,
the greater the personal risk becomes. Each additional month of delay provides more
opportunity for desperate parties to conclude that Plaintiff represents an existential threat that
cannot be managed through legal channels. This Court's continued inaction effectively increases
the danger by prolonging the uncertainty and allowing the pressure to build.

The Documented Pattern: The escalation from legal harassment to physical confrontation is
already documented in the Nebraska proceedings, where law enforcement was ultimately used to
physically assault Plaintiff on courthouse steps in front of his autistic son. The progression from
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 39 of 50
                                                                                                  39


judicial manipulation to direct physical violence demonstrates how institutional protection of
corruption ultimately leads to more desperate measures.



XII. REQUEST FOR HONORARY LAW LICENSE
RECOGNITION

A. The Competency Demonstration Requirement

Given this Court's apparent inability to recognize the sophisticated legal analysis and
comprehensive evidence presentation contained in Plaintiff's filings, Plaintiff respectfully
requests that this Court issue an honorary law license, enabling treatment as a competent legal
practitioner rather than a presumptively incompetent pro se litigant.

The Evidence Standard: The mere fact that this Court has failed to take any substantive action on
Plaintiff's comprehensive legal presentations suggests either that the Court has not thoroughly
reviewed the materials submitted, or that the Court's evaluation has been colored by pro se bias
that prevents recognition of legal competency when it does not arrive with formal credentials.

The Nebraska Precedent: As documented in pending proceedings at
www.charterwestbank.com/the-vault, Plaintiff has petitioned Nebraska courts for identical
recognition based on his discovery of previously unknown legal principles that appear to apply
uniquely to his cases. Should such recognition be granted, it would resolve the apparent cognitive
disconnect between the quality of legal work presented and the institutional response received.

The Practical Resolution: This honorary credential would enable this Court to evaluate Plaintiff's
legal arguments on their substantive merits rather than through the lens of pro se presumptions
of incompetence. No reasonable legal professional who thoroughly reviewed Plaintiff's
comprehensive evidence presentations would treat them as if they were "written on the back of a
Cracker Jack box with a broken pencil."



XIII. THE ULTIMATE DEMAND FOR IMMEDIATE JUDICIAL
ACTION
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25   Page 40 of 50
                                                                                                40


A. Immediate Action Required

Plaintiff demands that this Court immediately:

   1.​ ADDRESS THE 90+ DAY EMERGENCY MOTION BACKLOG - Issue preliminary
       injunctive relief stopping ongoing copyright infringement and evidence spoliation
   2.​ APPLY YOUR OWN WRITTEN PROCEDURES - Follow the "rocket docket" standards
       you've established for IP cases consistently
   3.​ DEMONSTRATE ACTUAL IP EXPERTISE - Resolve the elementary question of whether
       photograph theft violates federal law
   4.​ STOP PROTECTING CORPORATE LAW VIOLATIONS - Order X Corp to comply with
       federal DMCA requirements and cease evidence destruction
   5.​ INVESTIGATE FINANCIAL CORRUPTION PATTERNS - Examine whether this case
       involves similar unexplained financial flows that characterize the Nebraska corruption
   6.​ GRANT HONORARY LAW LICENSE RECOGNITION - Enable evaluation of legal
       arguments on substantive merits rather than pro se bias
   7.​ EXPLAIN THE SYSTEMATIC DELAY - Justify why emergency federal law violations
       warrant months of deliberate inaction


B. The Alternative Consequences and Expansion of Investigation

If this Court cannot demonstrate basic competency in elementary intellectual property law or
continues protecting corporate law violations, Plaintiff will:

   1.​ DOCUMENT THE COMPLETE MISCONDUCT PATTERN - Create comprehensive
       criminal referral materials for federal investigation
   2.​ SEEK TRANSFER TO COMPETENT JUDICIAL AUTHORITY - Request reassignment to
       judges who enforce federal law consistently
   3.​ PURSUE SYSTEMATIC ACCOUNTABILITY MECHANISMS - Apply the proven Nebraska
       strategies to federal judicial misconduct
   4.​ EXPOSE FINANCIAL CORRUPTION NETWORKS - Investigate whether similar $14
       million unexplained payments characterize Texas judicial protection
       Case 1:25-cv-00073-ADA          Document 42       Filed 06/22/25     Page 41 of 50
                                                                                                41


   5.​ EXPAND SECURITY THREAT DOCUMENTATION - Create comprehensive record of how
        judicial protection increases personal danger
   6.​ FORCE INSTITUTIONAL RECUSAL OR REMOVAL - Use established precedents to
        eliminate corrupted judicial authority



XIV. THE NEBRASKA TRUMP CARD

A. The Proof of Concept

While this Court has been contemplating whether photograph theft violates federal law, Plaintiff
has:

   ●​ Forced an entire judicial district to recuse themselves
   ●​ Subpoenaed a sitting state Attorney General
   ●​ Documented systematic government perjury
   ●​ Filed criminal charges against sitting judges
   ●​ Created precedents for judicial accountability

These are not theoretical capabilities—these are documented victories achieved through
systematic legal strategy.


B. The Demonstrated Methodology

The Nebraska successes prove that Plaintiff possesses:

   ●​ Superior legal analysis capability - Predicted judicial behavior with perfect accuracy
   ●​ Comprehensive documentation skills - Created evidence so compelling it forced
        institutional recusal
   ●​ Strategic litigation expertise - Executed multi-jurisdictional accountability campaigns
   ●​ Pattern recognition mastery - Identified and exploited systematic weaknesses in judicial
        misconduct
   ●​ Institutional pressure application - Generated accountability at the highest government
        levels
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 42 of 50
                                                                                                 42


XV. THE PROPHETIC FULFILLMENT

A. The Original Prediction Accuracy

Plaintiff's original Complaint in this case explicitly warned that it would expose patterns of
judicial misconduct designed to protect corporate defendants through procedural manipulation.
Every prediction has been fulfilled with devastating precision.

This demonstrates either:

   1.​ Extraordinary legal insight capable of predicting judicial behavior, or
   2.​ Recognition of systematic corruption patterns that transcend individual cases

Either conclusion supports Plaintiff's credibility and undermines this Court's misconduct.


B. The Institutional Mirror

This Court's behavior mirrors exactly the patterns that resulted in complete judicial destruction
in Nebraska:

   ●​ Identical delay tactics
   ●​ Identical procedural abandonment
   ●​ Identical protection of government/corporate interests
   ●​ Identical transformation of simple legal questions into complex matters
   ●​ Identical abandonment of written standards when they require action

The Nebraska precedent proves these tactics are unsustainable when properly exposed.



XVI. THE FINAL WARNING

A. The Institutional Choice

Your Honor now faces the same choice that confronted Nebraska judges:

   ●​ Demonstrate competency by applying basic federal law consistently
       Case 1:25-cv-00073-ADA          Document 42        Filed 06/22/25       Page 43 of 50
                                                                                                   43


    ●​ Continue the misconduct and face the systematic destruction that eliminated an entire
        judicial district

The Nebraska precedent demonstrates that continued misconduct results in complete
institutional accountability.


B. The Accountability Physics

Judicial misconduct operates according to predictable institutional physics:

    ●​ Systematic exposure creates unsustainable pressure
    ●​ Documentary evidence forces institutional response
    ●​ Pattern recognition enables precise countermeasures
    ●​ Public scrutiny demands consistent application of claimed expertise

This Court is currently generating all the evidence necessary for complete accountability.



XVII. THE SYSTEMATIC PROCEDURAL HARASSMENT
PLAYBOOK: NEBRASKA TO TEXAS JUDICIAL
COORDINATION

A. The Identical Cross-Jurisdictional Harassment Pattern

This Court's treatment of Plaintiff's filings demonstrates systematic coordination with Nebraska's
judicial harassment methodology, creating identical patterns of procedural obstruction designed
to distract from substantive federal law violations through administrative theater.

The Documented Harassment Timeline: 01/27/2025 Docket Entry: "DEFICIENCY NOTICE: re 5
Acknowledgment of Service Returned. This filing is deficient. pursuant to Fed. R. Civ. P.10, all
documents filed must be in pleading format... The 'Acknowledgment of Service' event was used
incorrectly..."

The Mobile Interface Sabotage: Plaintiff, filing pro se via mobile device, encounters deliberately
dysfunctional dropdown menus where typing single letters produces no options, partial words
      Case 1:25-cv-00073-ADA           Document 42         Filed 06/22/25      Page 44 of 50
                                                                                                     44


generate no suggestions, and selection options remain invisible until exact terminology is
guessed correctly—creating systematic setup for procedural harassment regardless of
substantive legal merit.

The Harassment vs. Approval Documentation:​
Pro Se Plaintiff receives:


    ●​ "DEFICIENCY NOTICE" for formatting minutia
    ●​ "Wrong event code" complaints for dropdown menu confusion
    ●​ "Improper procedure" citations for mobile interface limitations

Corporate Defendant receives:

    ●​ "Approved"
    ●​ "Approved"
    ●​ "Approved"
    ●​ "Extended time granted"


B. The Nebraska Precedent Documentation

This exact harassment methodology was systematically employed in Nebraska to protect
government corruption through procedural distraction:

The Federal Judge Lie Example: Nebraska's Chief Federal Judge deliberately falsified the number
of Plaintiff's children in written orders, stating Plaintiff had "three kids" while knowing he has
four children including a nonverbal autistic child whose educational needs were central to the
school district litigation. This deliberate omission was designed to minimize Plaintiff's stake in
institutional accountability while appearing innocuously factual to outside observers. The Chief
Federal Judge has engaged in identical deliberate falsification tactics across multiple cases,
demonstrating that systematic dishonesty extends to the highest levels of Nebraska's federal
judiciary.

The 8th Circuit Judicial Corruption Confirmation: Even more damaging to institutional
credibility, the 8th Circuit Court of Appeals has systematically affirmed every documented lie
while ignoring every provable truth in Plaintiff's cases. When presented with clear evidence of
      Case 1:25-cv-00073-ADA            Document 42        Filed 06/22/25       Page 45 of 50
                                                                                                       45


district court falsification, logical contradictions, and procedural violations, the 8th Circuit has
consistently ruled in favor of the false narrative, proving that judicial corruption extends through
every level of the federal court system.

The Complete Federal Judicial Capture: This creates a comprehensive record of systematic
corruption where:

   ●​ District judges deliberately falsify factual findings in written orders
   ●​ Chief judges participate in and coordinate the falsification schemes
   ●​ Circuit judges knowingly affirm false rulings while ignoring documented evidence
   ●​ The entire federal judiciary operates as a coordinated protection racket for institutional
       corruption

The Statistical Impossibility of Systematic "Error": The probability that multiple levels of federal
judiciary would independently arrive at identical false conclusions while ignoring identical
evidence approaches mathematical impossibility without coordinated institutional corruption.

The Systematic Pattern Recognition: Every Nebraska docket demonstrates identical harassment:


   ●​ Administrative procedure complaints for pro se filings
   ●​ "Selective box issue" targeting through impossible dropdown requirements
   ●​ Defense receives everything requested without procedural scrutiny
   ●​ Eventually documented lies emerge in judicial written orders


C. The Coordination Proof Through Pattern Replication

The Statistical Impossibility: The probability that Nebraska state courts and Texas federal court
would independently develop identical procedural harassment methodologies targeting the same
pro se litigant while protecting different corporate/government defendants approaches
mathematical impossibility without systematic coordination.

The Harassment Methodology Documentation:

   1.​ Focus on irrelevant procedural minutia while ignoring substantive federal violations
   2.​ Create impossible dropdown/selection requirements for pro se mobile filing
      Case 1:25-cv-00073-ADA           Document 42       Filed 06/22/25      Page 46 of 50
                                                                                                46


   3.​ Provide differential treatment favoring represented corporate defendants
   4.​ Eventually issue false statements in written judicial orders
   5.​ Maintain procedural theater to justify substantive law non-enforcement


D. The Psychological Warfare Recognition

The Institutional Strategy: This systematic procedural harassment is designed to:


   ●​ Exhaust pro se litigants through constant "correction" requirements
   ●​ Create appearance of "difficult plaintiff" through administrative "errors"
   ●​ Distract from substantive legal violations through procedural theater
   ●​ Make experienced litigants appear "non-compliant" regardless of legal merit

The Beautiful Documentation Advantage: Having experienced this systematic harassment across
multiple jurisdictions for 100+ filings, Plaintiff recognizes that "wrong dropdown selection"
complaints while copyright infringement, identity theft, advertising fraud, and metrics fraud
continue unaddressed represent institutional coordination to protect corporate law violations
through procedural distraction theater.


E. The Cross-Jurisdictional Coordination Evidence

The Pattern Consistency:

   ●​ Nebraska Attorney General: Publishes documented lies, refuses correction
   ●​ Nebraska Judges: Focus on "verification requirements" while protecting published lies
   ●​ Texas Federal Court: Focus on "dropdown selection errors" while protecting copyright
       violations

The Systematic Protection Methodology: Across all jurisdictions: Minor procedural complaints
receive immediate attention while major federal law violations receive systematic protection
through judicial inaction disguised as procedural perfectionism.

The Institutional Coordination Documentation: This represents systematic coordination between
state and federal judicial systems to protect corporate/government law violations through
identical procedural harassment methodologies that target specific pro se litigants who threaten
      Case 1:25-cv-00073-ADA           Document 42       Filed 06/22/25      Page 47 of 50
                                                                                                    47


institutional corruption through superior legal analysis and comprehensive documentation
capabilities.




Your Honor, this litigation has transcended its origins as a simple copyright matter and emerged
as a definitive examination of federal judicial integrity operating within systematic corruption
frameworks. The interrogatory is no longer whether photographic misappropriation constitutes
federal copyright infringement—established legal doctrine provides unambiguous resolution to
that elementary question.

The determinative issue confronting this tribunal is whether federal law will be enforced
consistently across all defendants or whether this Court will continue providing systematic
protection to corporate defendants through deliberate procedural abandonment and sustained
emergency motion neglect.

The Nebraska precedent establishes a comprehensive template for accountability: judges who
engage in systematic misconduct patterns face complete institutional destruction, government
officials who publish documented lies can be compelled to testify under oath regarding their
perjury, and systematic corruption exposure creates unsustainable institutional pressure that
results in total recusal rather than continued accountability proceedings.

Plaintiff has demonstrated operational capability to force complete judicial district recusal and
compel sitting state Attorney Generals to face testimony under oath. These represent
documented victories achieved through superior legal strategy, comprehensive pattern
recognition, and systematic institutional pressure application—not theoretical capabilities but
established precedent for judicial accountability.

This Court confronts an identical binary choice that eliminated corrupted judicial authority in
Nebraska:

IMMEDIATE COMPETENCY DEMONSTRATION: Address 90+ days of ignored emergency
motions, apply established copyright law to ongoing federal violations, implement written
"rocket docket" procedures consistently, issue preliminary injunctive relief against documented
law violations, and justify intellectual property expertise claims through actual law enforcement.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25      Page 48 of 50
                                                                                                   48


CONTINUED MISCONDUCT AND SUPREME COURT INEVITABILITY: Maintain systematic
protection of corporate law violations, sustain abandonment of written procedural standards,
perpetuate federal law enforcement suspension, ignore documented evidence spoliation, and
create the appellate record that will force Supreme Court establishment of pro se representation
rights when institutional corruption makes justice impossible through traditional channels.

The legal community, technology industry, government oversight organizations, and institutional
accountability mechanisms are monitoring this Court's response with the understanding that
systematic judicial misconduct operates according to predictable institutional physics:
systematic exposure creates unsustainable pressure, documentary evidence forces institutional
response, pattern recognition enables precise countermeasures, and public scrutiny demands
consistent application of claimed expertise.

The Supreme Court Gratitude and Historical Recognition: Plaintiff acknowledges that this
Court's continued misconduct serves the valuable purpose of creating an unassailable appellate
record that will force Supreme Court intervention and likely establish precedent for pro se
representation when the legal establishment's corruption makes traditional representation
impossible. In this sense, this Court's systematic law avoidance serves a greater good by
documenting institutional failure so comprehensively that Supreme Court remedy becomes
inevitable.

90+ days of patience during ongoing federal law violations has been exhausted. This Court must
demonstrate competency immediately or complete the appellate record that will establish
historical precedent for Supreme Court pro se representation when systematic judicial
corruption makes justice impossible through traditional channels.

The integrity of federal intellectual property law enforcement, the validity of efficiency
representations, and the continued viability of this Court's institutional authority depend upon
the immediate response to this Motion.

The Nebraska precedent demonstrates that systematic judicial misconduct is unsustainable when
comprehensively exposed and strategically challenged. Choose wisely, Your Honor.
      Case 1:25-cv-00073-ADA           Document 42        Filed 06/22/25    Page 49 of 50
                                                                                                 49


If the Court would like to see the most clearly documented evidence of fraud ever documented
without discovery (and potentially even with discovery), feel free to read the response from
Plaintiff to the most recent plea from X Corp to stop the pain.

Plaintiff has respectfully been waiting for something, anything from the Court, but apparently
now is the time.

https://charterwestbank.com/wp-content/uploads/2025/06/SUBMISSION-Response-to-X-Corp-MT
D-1.pdf




Respectfully submitted,

JUSTIN RIDDLE​
Plaintiff, Pro Se​
Architect of Nebraska Fourth Judicial District Recusal​
Subpoenaer of State Attorney Generals Under Oath​
Pattern Recognition Expert in Systematic Judicial Misconduct​
Documentary Evidence Preservation Specialist​
Demonstrated Victor Over Government Perjury and Institutional Corruption

[Contact Information]




CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion was served upon all counsel
of record via the Court's CM/ECF system this ___ day of June, 2025, and that copies have been
provided to relevant oversight organizations monitoring federal judicial competency and
accountability.

JUSTIN RIDDLE​
Plaintiff, Pro Se
Case 1:25-cv-00073-ADA   Document 42   Filed 06/22/25   Page 50 of 50
                                                                        50
